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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


  FEDERAL TRADE COMMISSION,
                                                      Case No. 1:20-cv-03538-GLR
          Plaintiff,

  v.

  RAGINGBULL.COM, LLC, et al.,

          Defendants.



    MODIFIED TEMPORARY RESTRAINING ORDER WITH ASSET FREEZE,
   APPOINTMENT OF A TEMPORARY RECEIVER, AND OTHER EQUITABLE
  RELIEF, AND ORDER TO SHOW CAUSE WHY A PRELIMINARY INJUNCTION
                         SHOULD NOT ISSUE

       Plaintiff, the Federal Trade Commission (“FTC” or “Commission”), has filed its

Complaint for Permanent Injunction and Other Equitable Relief pursuant to Sections 13(b) and

19 of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. §§ 53(b) and 57b, and Section

5 of the Restore Online Shoppers’ Confidence Act (“ROSCA”), 15 U.S.C. § 8404, and has

moved, pursuant to Fed. R. Civ. P. 65(b), for a temporary restraining order, asset freeze, other

equitable relief, and an order to show cause why a preliminary injunction should not issue

against Defendants RagingBull.com, LLC f/k/a Lighthouse Media LLC, Sherwood Ventures

LLC, Jason Bond LLC, MFA Holdings Corp., Winston Research Inc., Winston Corp., Jeffrey M.

Bishop, Jason Bond f/k/a Jason P. Kowalik, and Kyle W. Dennis (“Defendants”).




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                                             FINDINGS

        The Court, having considered the Complaint, the Emergency Motion for a Temporary

Restraining Order, declarations, exhibits, and the memorandum of points and authorities filed in

support thereof, and any response or opposition heard thereto, and being otherwise advised, finds

that:

        A.      This Court has jurisdiction over the subject matter of this case, and there is good

cause to believe that it will have jurisdiction over all parties hereto and that venue in this district

is proper.

        B.      In numerous instances, as the FTC alleges, Defendants have represented that their

stock and options trading subscription services will show consumers how to generate substantial

income in the stock market by using Defendants’ purportedly simple trading strategies or

following Defendants’ trade recommendations. As the FTC further alleges, Defendants have

also enrolled interested consumers in negative option subscription plans with quarterly or annual

recurring charges, without providing a simple mechanism to cancel and prevent these recurring

charges.

        C.      There is good cause to believe that Defendants have engaged in and are likely to

engage in acts or practices that violate Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), and

Section 4 of ROSCA, 15 U.S.C. § 8403, and that the FTC is therefore likely to prevail on the

merits of this action. As demonstrated by consumer complaints and declarations, records of

undercover purchases, a report by a financial markets expert, corporate, banking and payment

processing records, and the additional documentation filed by the FTC, the FTC has established a

likelihood of success in showing that Defendants have: (1) made false or unsubstantiated claims

that purchasers of their services are likely to earn substantial income; (2) made other material


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misrepresentations in the promotion and sale of their services; and (3) illegally charged

consumers for products or services using a negative option feature without providing a simple

mechanism to prevent recurring charges.

       D.      There is good cause to believe that immediate and irreparable harm will result

from Defendants’ ongoing violations of the FTC Act and ROSCA unless Defendants are

restrained and enjoined by order of this Court.

       E.      There is good cause to believe that immediate and irreparable damage to the

Court’s ability to grant effective final relief for consumers – including monetary restitution,

rescission, disgorgement or refunds – will occur from the sale, transfer, destruction or other

disposition or concealment by Defendants of their assets or business records, or other evidence,

unless Defendants are immediately restrained and enjoined by order of this Court.

       F.      There is good cause for the Court to order: (1) the appointment of a temporary

receiver over the Receivership Entities (as defined below); (2) an asset freeze over all assets of

the Receivership Entities; (3) an asset preservation over all assets of Individual Defendants (as

defined below); (4) that the FTC and the Receiver may take expedited discovery and access the

Receivership Entities’ business premises; and (5) the ancillary relief described below.

       G.      Weighing the equities and considering the FTC’s likelihood of ultimate success

on the merits, it is in the public interest that the Court enter a temporary restraining order that:

(1) enjoins Defendants from making misrepresentations and engaging in other acts in violation of

the FTC Act and ROSCA; (2) appoints a temporary receiver over the Receivership Entities; (3)

freezes the assets of the Receivership Entities; (4) orders the preservation of Individual

Defendants’ assets; (5) orders Defendants to show cause why a preliminary injunction should not

issue; and (6) provides other equitable relief.


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          H.     This Court has authority to issue this Order pursuant to Section 13(b) of the FTC

Act, 15 U.S.C. § 53(b); Federal Rule of Civil Procedure 65; and the All Writs Act, 28 U.S.C.

§ 1651.

          I.     No security is required of any agency of the United States for issuance of a

temporary restraining order. Fed. R. Civ. P. 65(c).

                                           DEFINITIONS

          For the purpose of this Order, the following definitions shall apply:

          A.     “Asset” means any legal or equitable interest in, right to, or claim to, any

property, wherever located and by whomever held.

          B.     “Billing Information” means any data that enables any person to access a

customer's account, such as a credit card, checking, savings, share or similar account, utility bill,

mortgage loan account, or debit card.

          C.     “Charge,” “Charged,” or “Charging” means any attempt to collect money or

other consideration from a consumer, including causing Billing Information to be submitted for

payment, including against the consumer’s credit card, debit card, bank account, or other

account.

          D.     “Corporate Defendant(s)” means RagingBull.com, LLC f/k/a Lighthouse Media,

Sherwood Ventures LLC, Jason Bond LLC, MFA Holdings Corp., Winston Research Inc.,

Winston Corp., and each of their subsidiaries, affiliates, successors, and assigns.

          E.     “Defendant(s)” means Corporate Defendants and Individual Defendants (as

defined below), individually, collectively, or in any combination.

          F.     “Document” is synonymous in meaning and equal in scope to the usage of

“document” and “electronically stored information” in Federal Rule of Civil Procedure 34(a),


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Fed. R. Civ. P. 34(a), and includes writings, drawings, graphs, charts, photographs, sound and

video recordings, images, Internet sites, web pages, websites, electronic correspondence,

including e-mail and instant messages, contracts, accounting data, advertisements, FTP Logs,

Server Access Logs, books, written or printed records, handwritten notes, telephone logs,

telephone scripts, receipt books, ledgers, personal and business canceled checks and check

registers, bank statements, appointment books, computer records, customer or sales databases

and any other electronically stored information, including Documents located on remote servers

or cloud computing systems, and other data or data compilations from which information can be

obtained directly or, if necessary, after translation into a reasonably usable form. A draft or non-

identical copy is a separate document within the meaning of the term.

       G.      “Earnings Claim” means any representation to consumers, specific or general,

about income, financial gains, percentage gains, profit, net profit, gross profit, or return on

investment. Earnings Claims include, but are not limited to: (a) the details of specific profitable

trades, whether actual or hypothetical; (b) references to quitting one’s job, not having to work, or

living off of income from trading; (c) references to increased purchases or savings, including a

home, vacations, or travel; (d) claims that consumers will not lose money if they use a particular

trading strategy; (e) claims that profits are likely, probable, or the “mathematical” result of

applying a particular trading strategy; and (f) any representation, even hypothetical, of how much

money a consumer could or would earn.

       H.      “Electronic Data Host” means any person or entity in the business of storing,

hosting, or otherwise maintaining electronically stored information. This includes, but is not

limited to, any entity hosting a website or server, and any entity providing “cloud based”

electronic storage.


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       I.      “Individual Defendant(s)” means Jeffrey M. Bishop, Jason Bond f/k/a Jason P.

Kowalik, and Kyle W. Dennis, individually, collectively, or in any combination.

       J.      “Negative Option Feature” means, in an offer or agreement to sell or provide

any good or service, a provision under which the consumer’s silence or failure to take affirmative

action to reject a good or service or to cancel the agreement is interpreted by the seller or

provider as acceptance or continuing acceptance of the offer.

       K.      “Public Health and Safety Event” means (1) any public health or safety

emergency announced or declared by any federal, state, or local governmental authority or (2)

the existence of any order, regulation, or action by any federal, state, or local government

authority relating to public health or safety governing or otherwise restricting public or

commercial activity, such as a quarantine or stay-at-home order.

       L.      “Receiver” means the temporary receiver appointed in Section XIII of this Order

and any deputy receivers that shall be named by the temporary receiver.

       M.      “Receivership Entity” or “Receivership Entities” means Corporate Defendants,

except MFA Holdings Corp., as well as any other entity that the Receiver determines is

controlled or owned by any Defendant and (1) conducted any business related to Defendants’

advertising, marketing, distributing, promoting, or selling of investment training or trading

services or negative option offers, (2) commingled or pooled any Assets with any Defendant, or

(3) otherwise participated in the transfer of Assets stemming from the advertising, marketing,

distributing, promoting, or selling of investment training or trading services or negative option

offers. Upon determining that a nonparty entity is a Receivership Entity, the Receiver shall

promptly notify the entity as well as the parties, and shall inform the entity that it can challenge

the Receiver’s determination by filing a motion with the Court.


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                                               I.

                           PROHIBITED BUSINESS ACTIVITIES

       IT IS THEREFORE ORDERED that Defendants, Defendants’ officers, agents,

employees, and attorneys, and all other persons in active concert or participation with them, who

receive actual notice of this Order by personal service or otherwise, whether acting directly or

indirectly, in connection with the advertising, marketing, promoting, or offering for sale of any

goods or services, are temporarily restrained and enjoined from:

       A.      Making any Earnings Claim, expressly or by implication, unless the Earnings

Claim is non-misleading, and, at the time such claim is made, Defendants: (1) have a reasonable

basis for the claim; (2) have in their possession written materials that substantiate that the

claimed earnings are typical for consumers similarly situated to those to whom the claim is

made; and (3) make the written substantiation available upon request to the consumer, potential

purchaser, and the FTC;

       B.      Making any claim, expressly or by implication, about (1) the level of experience

required for consumers to effectively use Defendants’ goods or services, (2) the time or effort

required for consumers to effectively use Defendants’ goods or services, or (3) the amount of

capital required for consumers to effectively use Defendants’ goods or services, unless the claim

is non-misleading, and, at the time such claim is made, Defendants: (a) have a reasonable basis

for the claim; (b) have in their possession written materials that substantiate that the claim is

typical for consumers similarly situated to those to whom the claim is made; and (c) make the

written substantiation available upon request to the consumer, potential purchaser, and the FTC;

or

       C.      Misrepresenting or assisting others in misrepresenting, expressly or by


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implication, any other fact material to consumers concerning any good or service, such as: the

total costs; any refund policy; any material restrictions, limitations, or conditions; or any material

aspect of its performance, efficacy, nature, or central characteristics.

                                               II.

         SIMPLE MECHANISM TO CANCEL NEGATIVE OPTION FEATURE

       IT IS FURTHER ORDERED that Defendant, Defendant’s officers, agents, employees,

attorneys, and all other persons in active concert or participation with any of them, who receive

actual notice of this Order, whether acting directly or indirectly, in connection with promoting

or offering for sale any good or service with a Negative Option Feature, are temporarily

restrained and enjoined from:

       A.      Failing to provide a simple mechanism for the consumer to: (1) avoid being

Charged, or Charged an increased amount, for the good or service and (2) immediately stop any

recurring Charges. Such mechanism must not be difficult, costly, confusing, or time consuming,

and must be at least as simple as the mechanism the consumer used to initiate the Charge(s);

       B.      For consumers who entered into the agreement to purchase a good or service

including a Negative Option Feature over the Internet, such as through a web-based application,

Defendant must provide a mechanism, accessible on the same Internet website or through the

same web-based application, that consumers can easily use to cancel the product or service and

to immediately stop all further Charges; and

       C.      For consumers who entered into the agreement to purchase a good or service

including a Negative Option Feature through an oral offer and acceptance, Defendants must

maintain a telephone number and a postal address that consumers can easily use to cancel the

product or service and to immediately stop all further Charges. Defendants must ensure that all


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calls to this telephone number are answered during normal business hours and that mail to the

postal address is read regularly.

                                               III.

             PROHIBITION ON RELEASE OF CUSTOMER INFORMATION

       IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,

and attorneys, and all other persons in active concert or participation with any of them, who

receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

restrained and enjoined from:

       A.      Selling, renting, leasing, transferring, or otherwise disclosing, the name, address,

birth date, telephone number, email address, credit card number, bank account number, Social

Security number, or other financial or identifying information of any person that any Defendant

obtained in connection with any activity that pertains to the subject matter of this Order; and

       B.      Benefitting from or using the name, address, birth date, telephone number, email

address, credit card number, bank account number, Social Security number, or other financial or

identifying information of any person that any Defendant obtained in connection with any

activity that pertains to the subject matter of this Order.

       Provided, however, that Defendants may disclose such identifying information to a law

enforcement agency, to their attorneys as required for their defense, as required by any law,

regulation, or court order, or in any filings, pleadings, or discovery in this action in the manner

required by the Federal Rules of Civil Procedure and by any protective order in the case.

                                               IV.

               PRESERVATION OF INDIVIDUAL DEFENDANTS’ ASSETS

       IT IS FURTHER ORDERED that each Individual Defendant shall not, directly or



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indirectly, disburse, gift, spend, transfer, liquidate, or assign more than a cumulative amount of

$25,000 (per Individual Defendant) of his assets without prior approval of the Court.

                                               V.

                     ASSET FREEZE OVER RECEIVERSHIP ENTITIES

       IT IS FURTHER ORDERED that Defendants and their officers, agents, employees,

and attorneys, and all other persons in active concert or participation with any of them, who

receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

restrained and enjoined from:

       A.      Transferring, liquidating, converting, encumbering, pledging, loaning, selling,

concealing, dissipating, disbursing, assigning, relinquishing, spending, withdrawing, granting a

lien or security interest or other interest in, or otherwise disposing of any Assets that are:

               (1)     owned or controlled, directly or indirectly, by any Receivership Entity;

               (2)     held, in part or in whole, for the benefit of any Receivership Entity;

               (3)     in the actual or constructive possession of any Receivership Entity; or

               (4)     owned or controlled by, in the actual or constructive possession of, or

otherwise held for the benefit of, any corporation, partnership, asset protection trust, or other

entity that is directly or indirectly owned, managed or controlled by any Receivership Entity.

       B.      Opening or causing to be opened any safe deposit boxes, commercial mail boxes,

or storage facilities titled in the name of or subject to access by any Receivership Entity, except

as necessary to comply with written requests from the Receiver acting pursuant to its authority

under this Order;

       C.      Incurring charges or cash advances on any credit, debit, or ATM card issued in

the name, individually or jointly, of any Receivership Entity or any corporation, partnership, or


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other entity directly or indirectly owned, managed, or controlled by any Receivership Entity.

This includes any corporate bankcard or corporate credit card account for which any Defendant ,

except MFA Holdings Corp. or any Receivership Entity is, or was on the date that this Order was

signed, an authorized signor; or

       D.      Cashing any checks or depositing any money orders or cash received from

consumers, clients, or customers of any Defendant, except MFA Holdings Corp.

       The Assets affected by this Section shall include: (1) all Assets of the Receivership

Entities as of the time this Order is entered; and (2) Assets obtained by any Receivership Entity

after this Order is entered if those Assets are derived from any activity that is the subject of the

Complaint in this matter or that is prohibited by this Order. This Section does not prohibit any

transfers to the Receiver or repatriation of foreign Assets specifically required by this order.

                                               VI.

             DUTIES OF ASSET HOLDERS AND OTHER THIRD PARTIES

       IT IS FURTHER ORDERED that any financial or brokerage institution, Electronic

Data Host, credit card processor, payment processor, merchant bank, acquiring bank,

independent sales organization, third party processor, payment gateway, insurance company,

business entity, or person who receives actual notice of this Order (by service or otherwise) that:

       (1) has held, controlled, or maintained custody, through an account or otherwise, of any
           Document on behalf of any Defendant or any Asset that has been: (i) owned or
           controlled, directly or indirectly, by any Defendant; (ii) held, in part or in whole, for
           the benefit of any Defendant; (iii) in the actual or constructive possession of any
           Defendant; or (iv) owned or controlled by, in the actual or constructive possession of,
           or otherwise held for the benefit of, any corporation, partnership, asset protection
           trust, or other entity that is directly or indirectly owned, managed or controlled by any
           Defendant;

       (2) has held, controlled, or maintained custody, through an account or otherwise, of any
           Document or Asset associated with credits, debits, or charges made on behalf of any
           Defendant, including reserve funds held by payment processors, credit card

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             processors, merchant banks, acquiring banks, independent sales organizations, third
             party processors, payment gateways, insurance companies, or other entities; or

       (3) has extended credit to any Defendant, including through a credit card account, shall:

       A.       Hold, preserve, and retain within its control and prohibit the withdrawal, removal,

alteration, assignment, transfer, pledge, encumbrance, disbursement, dissipation, relinquishment,

conversion, sale, or other disposal of any such Document or Asset of any Receivership Entity, as

well as all Documents or other property related to such Assets, except by further order of this

Court or as directed in writing by the Receiver regarding Assets or Documents owned by, held in

the name of, for the benefit of, or otherwise controlled by any Receivership Entity; provided,

however, that this provision does not prohibit an Individual Defendant from incurring charges on

a personal credit card established prior to entry of this Order, up to the pre-existing credit limit;

       B.       Deny any person, except the Receiver, access to any safe deposit box, commercial

mail box, or storage facility that is titled in the name of any Receivership Entity, either

individually or jointly, or otherwise subject to access by any Receivership Entity;

       C.       Provide Plaintiff’s counsel and the Receiver, within three (3) days of receiving a

copy of this Order, a sworn statement setting forth, for each Asset or account covered by this

Section:

                (1)     The identification number of each such account or Asset;

                (2)     The balance of each such account, or a description of the nature and value

of each such Asset as of the close of business on the day on which this Order is served, and, if

the account or other Asset has been closed or removed, the date closed or removed, the total

funds removed in order to close the account, and the name of the person or entity to whom such

account or other Asset was remitted; and




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                (3)     The identification of any safe deposit box, commercial mail box, or

storage facility that is either titled in the name, individually or jointly, of any Defendant, or is

otherwise subject to access by any Defendant; and

        D.      Upon the request of Plaintiff’s counsel or the Receiver, promptly provide

Plaintiff’s counsel and the Receiver with copies of all records or other Documents pertaining to

each account covered by this Section or Asset, including originals or copies of account

applications, account statements, signature cards, checks, drafts, deposit tickets, transfers to and

from the accounts, including wire transfers and wire transfer instructions, all other debit and

credit instruments or slips, currency transaction reports, 1099 forms, and all logs and records

pertaining to safe deposit boxes, commercial mail boxes, and storage facilities.

        Provided, however, that this Section does not prohibit any transfers to the Receiver or

repatriation of foreign Assets specifically required by this order.

                                                VII.

                                  FINANCIAL DISCLOSURES

        IT IS FURTHER ORDERED that each Defendant, within five (5) days of service of

this Order upon them, shall prepare and deliver to Plaintiff’s counsel and the Receiver:

        A.      completed financial statements on the forms attached to this Order as Attachment

A (Financial Statement of Individual Defendant) for each Individual Defendant, and Attachment

B (Financial Statement of Corporate Defendant) for each Corporate Defendant; and

        B.      completed Attachment C (IRS Form 4506, Request for Copy of a Tax Return)

for each Individual and Corporate Defendant.

                                                VIII.

                              FOREIGN ASSET REPATRIATION


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          IT IS FURTHER ORDERED that within five (5) days following the service of this

Order, each Defendant shall:

          A.    Provide Plaintiff’s counsel and the Receiver with a full accounting, verified under

oath and accurate as of the date of this Order, of all Assets, Documents, and accounts outside of

the United States which are: (1) titled in the name, individually or jointly, of any Defendant; (2)

held by any person or entity for the benefit of any Defendant or for the benefit of, any

corporation, partnership, asset protection trust, or other entity that is directly or indirectly owned,

managed or controlled by any Defendant; or (3) under the direct or indirect control, whether

jointly or singly, of any Defendant;

          B.    Take all steps necessary to provide Plaintiff’s counsel and Receiver access to all

Documents and records that may be held by third parties located outside of the territorial United

States of America, including signing the Consent to Release of Financial Records appended to

this Order as Attachment D.

          C.    Transfer to the territory of the United States all Documents and Assets located in

foreign countries which are: (1) titled in the name, individually or jointly, of any Receivership

Entity; (2) held by any person or entity for the benefit of any Receivership Entity, or for the

benefit of, any corporation, partnership, asset protection trust, or other entity that is directly or

indirectly owned, managed or controlled by any Receivership Entity; or (3) under the direct or

indirect control, whether jointly or singly, of any Receivership Entity; and

          D.    The same business day as any repatriation, (1) notify the Receiver and counsel for

Plaintiff of the name and location of the financial institution or other entity that is the recipient of

such Documents or Assets; and (2) serve this Order on any such financial institution or other

entity.


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                                                 IX.

                      NON-INTERFERENCE WITH REPATRIATION

        IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,

and attorneys, and all other persons in active concert or participation with any of them, who

receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

restrained and enjoined from taking any action, directly or indirectly, which may result in the

encumbrance or dissipation of foreign Assets, or in the hindrance of the repatriation required by

this Order, including, but not limited to:

        A.      Sending any communication or engaging in any other act, directly or indirectly,

that results in a determination by a foreign trustee or other entity that a “duress” event has

occurred under the terms of a foreign trust agreement until such time that all Assets of the

Receivership Entities have been fully repatriated pursuant to this Order; or

        B.      Notifying any trustee, protector, or other agent of any foreign trust or other related

entities of either the existence of this Order, or of the fact that repatriation is required pursuant to

a court order, until such time that all Assets of the Receivership Entities have been fully

repatriated pursuant to this Order.

                                                 X.

                                CONSUMER CREDIT REPORTS

        IT IS FURTHER ORDERED that Plaintiff may obtain credit reports concerning any

Defendant pursuant to Section 604(a)(1) of the Fair Credit Reporting Act, 15 U.S.C. §

1681b(a)(1), and that, upon written request, any credit reporting agency from which such reports

are requested shall provide them to Plaintiff.




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                                               XI.

                                PRESERVATION OF RECORDS

       IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,

and attorneys, and all other persons in active concert or participation with any of them, who

receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

restrained and enjoined from:

       A.      Destroying, erasing, falsifying, writing over, mutilating, concealing, altering,

transferring, or otherwise disposing of, in any manner, directly or indirectly, Documents that

relate to: (1) the business, business practices, Assets, or business or personal finances of any

Defendant; (2) the business practices or finances of entities directly or indirectly under the

control of any Defendant; or (3) the business practices or finances of entities directly or

indirectly under common control with any other Defendant; and

       B.      Failing to create and maintain Documents that, in reasonable detail, accurately,

fairly, and completely reflect Defendants’ incomes, disbursements, transactions, and use of

Defendants’ Assets.

                                               XII.

                          REPORT OF NEW BUSINESS ACTIVITY

       IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,

and attorneys, and all other persons in active concert or participation with any of them, who

receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

restrained and enjoined from creating, operating, or exercising any control over any business

entity, whether newly formed or previously inactive, including any partnership, limited

partnership, joint venture, sole proprietorship, or corporation, without first providing Plaintiff’s



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counsel and the Receiver with a written statement disclosing: (1) the name of the business

entity; (2) the address and telephone number of the business entity; (3) the names of the business

entity’s officers, directors, principals, managers, and employees; and (4) a detailed description of

the business entity’s intended activities.

                                              XIII.

                                   TEMPORARY RECEIVER

       IT IS FURTHER ORDERED that Peter Keith, Esq. is appointed as temporary receiver

of the Receivership Entities with full powers of an equity receiver. The Receiver shall be solely

the agent of this Court in acting as Receiver under this Order.

                                              XIV.

                         DUTIES AND AUTHORITY OF RECEIVER

       IT IS FURTHER ORDERED that the Receiver is directed and authorized to

accomplish the following:

       A.      Assume full control of Receivership Entities by removing, as the Receiver deems

necessary or advisable, any director, officer, independent contractor, employee, attorney, or

agent of any Receivership Entity from control of, management of, or participation in, the aff airs

of the Receivership Entity;

       B.      Take exclusive custody, control, and possession of all Assets and Documents of,

or in the possession, custody, or under the control of, any Receivership Entity, wherever situated;

       C.      Take exclusive custody, control, and possession of all Documents or Assets

associated with credits, debits, or charges made on behalf of any Receivership Entity, wherever

situated, including reserve funds held by payment processors, credit card processors, merchant




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banks, acquiring banks, independent sales organizations, third party processors, payment

gateways, insurance companies, or other entities;

       D.      Conserve, hold, manage, and prevent the loss of all Assets of the Receivership

Entities, and perform all acts necessary or advisable to preserve the value of those Assets. The

Receiver shall assume control over the income and profits therefrom and all sums of money now

or hereafter due or owing to the Receivership Entities. The Receiver shall have full power to sue

for, collect, and receive, all Assets of the Receivership Entities and of other persons or entities

whose interests are now under the direction, possession, custody, or control of, the Receivership

Entities. Provided, however, that the Receiver shall not attempt to collect any amount from a

consumer if the Receiver believes the consumer’s debt to the Receivership Entities has resulted

from the deceptive acts or practices or other violations of law alleged in the Complaint in this

matter, without prior Court approval;

       E.      Obtain, conserve, hold, manage, and prevent the loss of all Documents of the

Receivership Entities, and perform all acts necessary or advisable to preserve such Documents.

The Receiver shall: divert mail; preserve all Documents of the Receivership Entities that are

accessible via electronic means (such as online access to financial accounts and access to

electronic documents held onsite or by Electronic Data Hosts, by changing usernames,

passwords, or other log-in credentials); take possession of all electronic Documents of the

Receivership Entities stored onsite or remotely; take whatever steps necessary to preserve all

such Documents; and obtain the assistance of the FTC’s Digital Forensic Unit for the purpose of

obtaining electronic documents stored onsite or remotely;




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       F.      Choose, engage, and employ attorneys, accountants, appraisers, and other

independent contractors and technical specialists, as the Receiver deems advisable or necessary

in the performance of duties and responsibilities under the authority granted by this Order;

       G.      Make payments and disbursements from the receivership estate that are necessary

or advisable for carrying out the directions of, or exercising the authority granted by, this Order,

and to incur, or authorize the making of, such agreements as may be necessary and advisable in

discharging his or her duties as Receiver. The Receiver shall apply to the Court for prior

approval of any payment of any debt or obligation incurred by the Receivership Entities prior to

the date of entry of this Order, except payments that the Receiver deems necessary or advisable

to secure Assets of the Receivership Entities, such as rental payments;

       H.      Take all steps necessary to secure and take exclusive custody of each location

from which the Receivership Entities operate their businesses. Such steps may include, but are

not limited to, any of the following, as the Receiver deems necessary or advisable: (1) securing

the location by changing the locks and alarm codes and disconnecting any internet access or

other means of access to the computers, servers, internal networks, or other records maintained at

that location; and (2) requiring any persons present at the location to leave the premises, to

provide the Receiver with proof of identification, and/or to demonstrate to the satisfaction of the

Receiver that such persons are not removing from the premises Documents or Assets of the

Receivership Entities. Law enforcement personnel, including, but not limited to, police or

sheriffs, may assist the Receiver in implementing these provisions in order to keep the peace and

maintain security. If requested by the Receiver, the United States Marshal will provide

appropriate and necessary assistance to the Receiver to implement this Order and is authorized to

use any necessary and reasonable force to do so;


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           I.   Take all steps necessary to prevent the modification, destruction, or erasure of any

web page or website registered to and operated, in whole or in part, by any Defendant, and to

provide access to all such web page or websites to Plaintiff’s representatives, agents, and

assistants, as well as Defendants and their representatives;

           J.   Enter into and cancel contracts and purchase insurance as advisable or necessary;

           K.   Prevent the inequitable distribution of Assets and determine, adjust, and protect

the interests of consumers who have transacted business with the Receivership Entities;

           L.   Make an accounting, as soon as practicable, of the Assets and financial condition

of the receivership and file the accounting with the Court and deliver copies thereof to all parties;

           M.   Institute, compromise, adjust, appear in, intervene in, defend, dispose of, or

otherwise become party to any legal action in state, federal or foreign courts or arbitration

proceedings as the Receiver deems necessary and advisable to preserve or recover the Assets of

the Receivership Entities, or to carry out the Receiver’s mandate under this Order, including but

not limited to, actions challenging fraudulent or voidable transfers;

           N.   Issue subpoenas to obtain Documents and records pertaining to the Receivership,

and conduct discovery in this action on behalf of the receivership estate, in addition to obtaining

other discovery as set forth in this Order;

           O.   Open one or more bank accounts at designated depositories for funds of the

Receivership Entities. The Receiver shall deposit all funds of the Receivership Entities in such

designated accounts and shall make all payments and disbursements from the receivership estate

from such accounts. The Receiver shall serve copies of monthly account statements on all

parties;

           P.   Maintain accurate records of all receipts and expenditures incurred as Receiver;


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       Q.      Allow the Plaintiffs’ representatives, agents, and assistants, as well as

Defendants’ representatives and Defendants themselves, reasonable access to the premises of the

Receivership Entities, or any other premises where the Receivership Entities conduct business.

The purpose of this access shall be to inspect and copy any and all books, records, Documents,

accounts, and other property owned by, or in the possession of, the Receivership Entities or their

agents. The Receiver shall have the discretion to determine the time, manner, and reasonable

conditions of such access;

       R.      Allow the Plaintiffs’ representatives, agents, and assistants, as well as Defendants

and their representatives, reasonable access to all Documents in the possession, custody, or

control of the Receivership Entities;

       S.      Cooperate with reasonable requests for information or assistance from any state or

federal civil or criminal law enforcement agency;

       T.      Suspend business operations of the Receivership Entities if in the judgment of the

Receiver such operations cannot be continued legally and profitably;

       U.      If the Receiver identifies a nonparty entity as a Receivership Entity, promptly

notify the entity as well as the parties, and inform the entity that it can challenge the Receiver’s

determination by filing a motion with the Court. Provided, however, that the Receiver may

delay providing such notice until the Receiver has established control of the nonparty entity and

its assets and records, if the Receiver determines that notice to the entity or the parties before the

Receiver establishes control over the entity may result in the destruction of records, dissipation

of assets, or any other obstruction of the Receiver’s control of the entity; and

       V.      If in the Receiver’s judgment the business operations cannot be continued legally

and profitably, take all steps necessary to ensure that any of the Receivership Entities’ web pages


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or websites relating to the activities alleged in the Complaint cannot be accessed by the public, or

are modified for consumer education and/or informational purposes, and take all steps necessary

to ensure that any telephone numbers associated with the Receivership Entities cannot be

accessed by the public, or are answered solely to provide consumer education or information

regarding the status of operations.

       Provided, however, that the Receiver may delay undertaking any of the duties set forth in

this Section of the Order to the extent that the Receiver determines that a Public Health or Safety

Event prevents the Receiver from undertaking such duties safely; and provided, further, that any

such delay shall not be deemed a failure of the Receiver to exercise his obligations.

                                              XV.

              TRANSFER OF RECEIVERSHIP PROPERTY TO RECEIVER

       IT IS FURTHER ORDERED that Defendants and any other person, with possession,

custody or control of property of, or records relating to, the Receivership Entities shall, upon

notice of this Order by personal service or otherwise, fully cooperate with and assist the Receiver

in taking and maintaining possession, custody, or control of the Assets and Documents of the

Receivership Entities and immediately transfer or deliver to the Receiver possession, custody,

and control of, the following:

       A.      All Assets held by or for the benefit of the Receivership Entities;

       B.      All Documents or Assets associated with credits, debits, or charges made on

behalf of any Receivership Entity, wherever situated, including reserve funds held by payment

processors, credit card processors, merchant banks, acquiring banks, independent sales

organizations, third party processors, payment gateways, insurance companies, or other entities;

       C.      All Documents of or pertaining to the Receivership Entities;


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       D.      All computers, electronic devices, mobile devices and machines used to conduct

the business of the Receivership Entities;

       E.      All Assets and Documents belonging to other persons or entities whose interests

are under the direction, possession, custody, or control of the Receivership Entities; and

       F.      All keys, codes, user names, and passwords necessary to gain or to secure access

to any Assets or Documents of or pertaining to the Receivership Entities, including access to

their business premises, means of communication, accounts, computer systems (onsite and

remote), Electronic Data Hosts, or other property.

       In the event that any person or entity fails to deliver or transfer any Asset or Document,

or otherwise fails to comply with any provision of this Section, the Receiver may file an

Affidavit of Non-Compliance regarding the failure and a motion seeking compliance or a

contempt citation.

                                              XVI.

                       PROVISION OF INFORMATION TO RECEIVER

       IT IS FURTHER ORDERED that Defendants shall immediately provide to the

Receiver:

       A.      A list of all Assets and accounts of the Receivership Entities that are held in any

name other than the name of a Receivership Entity, or by any person or entity other than a

Receivership Entity;

       B.      A list of all agents, employees, officers, attorneys, servants, and those persons in

active concert and participation with the Receivership Entities, or who have been associated or

done business with the Receivership Entities; and




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       C.      A description of any Documents covered by attorney-client privilege or attorney

work product, including files where such Documents are likely to be located, authors or

recipients of such Documents, and search terms likely to identify such electronic Documents.

                                              XVII.

                          COOPERATION WITH THE RECEIVER

       IT IS FURTHER ORDERED that Defendants; Receivership Entities; Defendants’ or

Receivership Entities’ officers, agents, employees, and attorneys, all other persons in active

concert or participation with any of them, and any other person with possession, custody, or

control of property of or records relating to the Receivership entities who receive actual notice of

this Order shall fully cooperate with and assist the Receiver. This cooperation and assistance

shall include, but is not limited to, providing information to the Receiver that the Receiver deems

necessary to exercise the authority and discharge the responsibilities of the Receiver under this

Order; providing any keys, codes, user names, and passwords required to access any computers,

electronic devices, mobile devices, and machines (onsite or remotely) and any cloud account

(including specific method to access account) or electronic file in any medium; advising all

persons who owe money to any Receivership Entity that all debts should be paid directly to the

Receiver; and transferring funds at the Receiver’s direction and producing records related to the

Assets and sales of the Receivership Entities.

                                              XVIII.

                      NON-INTERFERENCE WITH THE RECEIVER

       IT IS FURTHER ORDERED that Defendants; Receivership Entities; Defendants’ or

Receivership Entities’ officers, agents, employees, attorneys, and all other persons in active

concert or participation with any of them, who receive actual notice of this Order, and any other



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person served with a copy of this Order, are hereby restrained and enjoined from directly or

indirectly:

        A.      Interfering with the Receiver’s efforts to manage, or take custody, control, or

possession of, the Assets or Documents subject to the receivership;

        B.      Transacting any of the business of the Receivership Entities;

        C.      Transferring, receiving, altering, selling, encumbering, pledging, assigning,

liquidating, or otherwise disposing of any Assets owned, controlled, or in the possession or

custody of, or in which an interest is held or claimed by, the Receivership Entities; or

        D.      Refusing to cooperate with the Receiver or the Receiver’s duly authorized agents

in the exercise of their duties or authority under any order of this Court.

                                                XIX.

                                       STAY OF ACTIONS

        IT IS FURTHER ORDERED that, except by leave of this Court, during the pendency

of the receivership ordered herein, Defendants, Defendants’ officers, agents, employees,

attorneys, and all other persons in active concert or participation with any of them, who receive

actual notice of this Order, and their corporations, subsidiaries, divisions, or affiliates, and all

investors, creditors, stockholders, lessors, customers and other persons seeking to establish or

enforce any claim, right, or interest against or on behalf of Defendants, and all others acting for

or on behalf of such persons, are hereby enjoined from taking action that would interfere with the

exclusive jurisdiction of this Court over the Assets or Documents of the Receivership Entities,

including, but not limited to:




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         A.     Filing or assisting in the filing of a petition for relief under the Bankruptcy Code,

11 U.S.C. § 101 et seq., or of any similar insolvency proceeding on behalf of the Receivership

Entities;

         B.     Commencing, prosecuting, or continuing a judicial, administrative, or other action

or proceeding against the Receivership Entities, including the issuance or employment of process

against the Receivership Entities, except that such actions may be commenced if necessary to toll

any applicable statute of limitations; or

         C.     Filing or enforcing any lien on any asset of the Receivership Entities, taking or

attempting to take possession, custody, or control of any Asset of the Receivership Entities; or

attempting to foreclose, forfeit, alter, or terminate any interest in any Asset of the Receivership

Entities, whether such acts are part of a judicial proceeding, are acts of self -help, or otherwise.

         Provided, however, that this Order does not stay: (1) the commencement or continuation

of a criminal action or proceeding; (2) the commencement or continuation of an action or

proceeding by a governmental unit to enforce such governmental unit’s police or regulatory

power; or (3) the enforcement of a judgment, other than a money judgment, obtained in an action

or proceeding by a governmental unit to enforce such governmental unit’s police or regulatory

power.

                                               XX.

                              COMPENSATION OF RECEIVER

         IT IS FURTHER ORDERED that the Receiver and all personnel hired by the Receiver

as herein authorized, including counsel to the Receiver and accountants, are entitled to

reasonable compensation for the performance of duties pursuant to this Order and for the cost of

actual out-of-pocket expenses incurred by them, from the Assets now held by, in the possession


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or control of, or which may be received by, the Receivership Entities. The Receiver shall file

with the Court and serve on the parties periodic requests for the payment of such reasonable

compensation, with the first such request filed no more than sixty (60) days after the date of

entry of this Order. The Receiver shall not increase the hourly rates used as the bases for such

fee applications without prior approval of the Court.

                                               XXI.

                                       RECEIVER’S BOND

       IT IS FURTHER ORDERED that the Receiver shall file with the Clerk of this Court a

bond in the sum of $20,000 with sureties to be approved by the Court, conditioned that the

Receiver will well and truly perform the duties of the office and abide by and perform all acts the

Court directs. 28 U.S.C. § 754.

                                               XXII.

                                    RECEIVER’S REPORTS

       IT IS FURTHER ORDERED that by noon on January 11, 2021, the Receiver shall

report to this Court regarding: (1) the steps taken by the Receiver to implement the terms of the

Order; (2) the value of all assets and sum of all liabilities of the Receivership Entities; (3) the

steps the Receiver intends to take in the future to protect receivership assets, recover receivership

assets from third parties, and adjust receivership liabilities; (4) whether the business of the

Receivership Entities can be operated legally and profitably; and (5) any other matters which the

Receiver believes should be brought to the Court’s attention. Provided, however, that if any of

the required information would hinder the Receiver’s ability to pursue receivership assets, the

portions of the Receiver’s report containing such information may be filed under seal and not

served on the parties.



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                                               XXIII.

                   ACCESS TO BUSINESS PREMISES AND RECORDS

       IT IS FURTHER ORDERED that:

       A.      In order to allow Plaintiff and the Receiver to preserve Assets and evidence

relevant to this action and to expedite discovery, unless Plaintiff or the Receiver determines that

a Public Health or Safety Event makes it unsafe for Plaintiff or the Receiver to do so, the

Plaintiff and the Receiver, and their representatives, agents, contractors, and assistants, shall

have immediate access (virtually or in person) to the business premises and storage facilities,

owned, controlled, or used by the Receivership Entities. Such locations include, but are not

limited to, 11311 McCormick Road, Hunt Valley, Maryland 21031, and any offsite location or

commercial mailbox used by the Receivership Entities. The Receiver may exclude Defendants,

Receivership Entities, and their employees from the business premises during the immediate

access. In the event of a Public Health or Safety Event, the Receiver may, if the Receiver

determines it safe to do so, enter any of Defendants’ business premises after business hours. Any

landlord, management office, security office, or any other person that controls access to any such

business premises, shall, immediately upon receiving notice of this order, cooperate with the

Receiver and take whatever steps necessary to allow the Receiver access to such business

premises.

       B.      Plaintiff and the Receiver, and their representatives, agents, contractors, and

assistants, are authorized to remove Documents from the Receivership Entities’ premises in

order that they may be inspected, inventoried, and copied. Plaintiff shall return any removed

materials to the Receiver within five (5) business days of completing inventorying and copying,

or such time as is agreed upon by Plaintiff and the Receiver. The Receiver is authorized to take


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photographs, create a detailed description of the premises and its rooms and workspaces, and

make an inventory of the relevant evidence found at the premises, along with its location. The

Receiver shall provide a copy of any such inventory, photographs, or description of the premises

to the Plaintiff and Defendants, or their counsel.

       C.      Plaintiff’s access to the Receivership Entities’ Documents pursuant to this Section

shall not provide grounds for any Defendant to object to any subsequent request for Documents

served by Plaintiff.

       D.      Plaintiff and the Receiver, and their representatives, agents, contractors, and

assistants, are authorized to obtain the assistance of federal, state, and local law enforcement

officers as they deem necessary to effect service and to implement peacefully the provisions of

this Order.

       E.      If any Documents, computers, or electronic storage devices containing

information related to the business practices or finances of the Receivership Entities are at a

location other than those listed herein, including personal residence(s) of any Defendant, then,

immediately upon the written or oral instruction of the Receiver, Defendants and Receivership

Entities shall produce to the Receiver all such Documents, computers, and electronic storage

devices, along with any codes or passwords needed for access. In order to prevent the destruction

of computer data, upon service of this Order, any such computers or electronic storage devices

shall be powered down in the normal course of the operating system used on such devices and

shall not be powered up or used until produced for copying and inspection.

       F.      If any communications or records of any Receivership Entity are stored with an

Electronic Data Host, such Entity shall, immediately upon receiving notice of this order, provide

the Receiver with the username, passwords, and any other login credential needed to access the


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communications and records, and shall not attempt to access, or cause a third -party to attempt to

access, the communications or records.

                                               XXIV.

                      DISTRIBUTION OF ORDER BY DEFENDANTS

       IT IS FURTHER ORDERED that Defendants shall immediately provide a copy of this

Order to each affiliate, telemarketer, marketer, sales entity, successor, assign, member, officer,

director, employee, agent, independent contractor, client, attorney, spouse, subsidiary, division,

and representative of any Defendant, and shall, within ten (10) days from the date of entry of this

Order, and provide Plaintiff and the Receiver with a sworn statement that this provision of the

Order has been satisfied, which statement shall include the names, physical addresses, phone

numbers, and email addresses of each such person or entity who received a copy of the Order.

Furthermore, Defendants shall not take any action that would encourage officers, agents,

members, directors, employees, salespersons, independent contractors, attorneys, subsidiaries,

affiliates, successors, assigns or other persons or entities in active concert or participation with

them to disregard this Order or believe that they are not bound by its provisions.

                                               XXV.

                                   EXPEDITED DISCOVERY

       IT IS FURTHER ORDERED that, notwithstanding the provisions of the Fed. R. Civ. P.

26(d) and (f) and 30(a)(2)(A)(iii), and pursuant to Fed. R. Civ. P. 30(a), 33, 34, and 45, Plaintiff

and the Receiver are granted leave, at any time after service of this Order, to conduct limited

expedited discovery for the purpose of discovering: (1) the nature, location, status, and extent of

Defendants’ Assets; (2) the nature, location, and extent of Defendants’ business transactions and

operations; (3) Documents reflecting Defendants’ business transactions and operations; or (4)



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compliance with this Order. The limited expedited discovery set forth in this Section shall

proceed as follows:

       A.      Plaintiff and the Receiver may take the deposition of parties and non-parties.

Forty-eight (48) hours’ notice shall be sufficient notice for such depositions. The limitations and

conditions set forth in Rules 30(a)(2)(B) and 31(a)(2)(B) of the Federal Rules of Civil Procedure

regarding subsequent depositions of an individual shall not apply to depositions taken pursuant

to this Section. Any such deposition taken pursuant to this Section shall not be counted towards

the deposition limit set forth in Rules 30(a)(2)(A) and 31(a)(2)(A) and depositions may be taken

by telephone or other remote electronic means;

       B.      Plaintiff and the Receiver may serve upon parties requests for production of

Documents or inspection that require production or inspection within five (5) days of service,

provided, however, that three (3) days of notice shall be deemed sufficient for the production of

any such Documents that are maintained or stored only in an electronic format;

       C.      Plaintiff and the Receiver may serve upon parties interrogatories that require

response within five (5) days after Plaintiff serves such interrogatories;

       D.      The Plaintiff and the Receiver may serve subpoenas upon non-parties that direct

production or inspection within five (5) days of service.

       E.      Service of discovery upon a party to this action, taken pursuant to this Section,

shall be sufficient if made by facsimile, email, or by overnight delivery.

       F.      Any expedited discovery taken pursuant to this Section is in addition to, and is not

subject to, the limits on discovery set forth in the Federal Rules of Civil Procedure and the Local

Rules of this Court. The expedited discovery permitted by this Section does not require a




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meeting or conference of the parties, pursuant to Rules 26(d) & (f) of the Federal Rules of Civil

Procedure.

       G.      The Parties are exempted from making initial disclosures under Fed. R. Civ. P.

26(a)(1) until further order of this Court.

                                                XXVI.

                                  SERVICE OF THIS ORDER

       IT IS FURTHER ORDERED that copies of this Order as well as the Motion for

Temporary Restraining Order and all other pleadings, Documents, and exhibits filed

contemporaneously with that Motion (other than the complaint and summons), may be served by

any means, including facsimile transmission, electronic mail or other electronic messaging,

personal or overnight delivery, U.S. Mail or FedEx, by agents and employees of Plaintiff, by any

law enforcement agency, or by private process server, upon any Defendant or any person

(including any financial institution) that may have possession, custody or control of any Asset or

Document of any Defendant, or that may be subject to any provision of this Order pursuant to

Rule 65(d)(2) of the Federal Rules of Civil Procedure. For purposes of this Section, service upon

any branch, subsidiary, affiliate, or office of any entity shall effect service upon the entire entity.

                                              XXVII.

                   CORRESPONDENCE AND SERVICE ON PLAINTIFF

       IT IS FURTHER ORDERED that, for the purpose of this Order, all correspondence

and service of pleadings on Plaintiff shall be done via email to: Colleen Robbins at

crobbins@ftc.gov, Sung W. Kim at skim6@ftc.gov, Gordon E. Sommers at gsommers@ftc.gov,

and Thomas Biesty at tbiesty@ftc.gov.




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                                           XXVIII.

                          PRELIMINARY INJUNCTION HEARING

       IT IS FURTHER ORDERED that, pursuant to Fed. R. Civ. P. 65(b), Defendants shall

appear before this Court on the 13th day of January, 2021, at 9:30 a.m., by virtual format, to

show cause, if there is any, why this Court should not enter a preliminary injunction, pending

final ruling on the Complaint against Defendants, enjoining the violations of the law alleged in

the Complaint, continuing the freeze of their Assets, continuing the receivership, and imposing

such additional relief as may be appropriate.

                                           XXIX.

      BRIEFS AND AFFIDAVITS CONCERNING PRELIMINARY INJUNCTION

       IT IS FURTHER ORDERED that:

       A.      Defendants shall file with the Court and serve on Plaintiff’s counsel a

consolidated response to the show cause order by 5 p.m. on December 30, 2020. The Response

may be divided into different sections for arguments specific to each Defendant. FTC’s Reply

is due by 5 p.m. on January 5, 2021.

       B.      An evidentiary hearing on Plaintiff’s request for a preliminary injunction is not

necessary unless Defendants demonstrate that they have, and intend to introduce, evidence that

raises a genuine and material factual issue. The question of whether this Court should enter a

preliminary injunction shall be resolved on the pleadings, declarations, exhibits, and memoranda

filed by, and oral argument of, the parties. Live testimony shall be heard only on further order of

this Court. Any motion to permit such testimony shall be filed with the Court and served on

counsel for the other parties at least five (5) days prior to the preliminary injunction hearing in

this matter. Such motion shall set forth the name, address, and telephone number of each



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proposed witness, a detailed summary or affidavit revealing the substance of each proposed

witness’s expected testimony, and an explanation of why the taking of live testimony would be

helpful to this Court. Any papers opposing a timely motion to present live testimony or to

present live testimony in response to another party’s timely motion to present live testimony

shall be filed with this Court and served on the other parties at least three (3) days prior to the

order to show cause hearing.

       C.       Provided, however, that service shall be performed by personal or overnight

delivery, facsimile, or email, and Documents shall be delivered so that they shall be received by

the other parties no later than 5:00 p.m. Eastern on the appropriate dates provided in this Section.

                                               XXX.

                                 DURATION OF THE ORDER

       IT IS FURTHER ORDERED that this Order shall expire after the preliminary

injunction hearing, which is currently set for 9:30 a.m. on January 13, 2021.

                                               XXXI.

                               RETENTION OF JURISDICTION

       IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter for

all purposes.

       SO ORDERED, this17th day of December, 2020, at 9:45 a.m.




                                                                               /s/
                                                        George L. Russell, III
                                                        United States District Judge




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               ATTACHMENT A
                                      FEDERAL
                  Case 1:20-cv-03538-GLR      TRADE64
                                          Document COMMISSION
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                                  FINANCIAL STATEMENT OF INDIVIDUAL DEFENDANT



Definitions and Instructions:

    1. Complete all items. Enter “None” or “N/A” (“Not Applicable”) in the first field only of any item that does not apply
       to you. If you cannot fully answer a question, explain why.

    2. “Dependents” include your spouse, live-in companion, dependent children, or any other person, whom you or your
       spouse (or your children’s other parent) claimed or could have claimed as a dependent for tax purposes at any
       time during the past five years.

    3. “Assets” and “Liabilities” include ALL assets and liabilities, located within the United States or any foreign country
       or territory, whether held individually or jointly and whether held by you, your spouse, or your dependents, or held
       by others for the benefit of you, your spouse, or your dependents.

    4. Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
       being continued. On the continuation page(s), identify the Item number(s) being continued.

    5. Type or print legibly.

    6. Initial each page in the space provided in the lower right corner.

    7. Sign and date the completed financial statement on the last page.


Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:

        (1) “in any matter within the jurisdiction of the executive, legislative, or judicial branch of the Government of the
United States, knowingly and willfully falsifies, conceals or covers up by any trick, scheme, or devise a material fact;
makes any materially false, fictitious or fraudulent statement or representation; or makes or uses any false writing or
document knowing the same to contain any materially false, fictitious or fraudulent statement or entry” (18 U.S.C. § 1001);

          (2) “in any . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
willfully subscribes as true any material matter which he does not believe to be true” (18 U.S.C. § 1621); or

        (3) “in any ( . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States
Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any false
material declaration or makes or uses any other information . . . knowing the same to contain any false material
declaration” (18 U.S.C. § 1623).

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross
loss. 18 U.S.C. § 3571.




                                                                     Federal Trade Commission Financial Statement of Individual Defendant
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                                        BACKGROUND INFORMATION
Item 1. Information About You
Full Name                                                                   Social Security No.

Current Address of Primary Residence                                        Driver’s License No.                                            State Issued

                                                                            Phone Numbers                    Date of Birth:   /   /
                                                                            Home: (   )                                    (mm/dd/yyyy)
                                                                            Fax: (    )                      Place of Birth

   Rent      Own             From (Date):      /   /                        E-Mail Address
                                            (mm/dd/yyyy)
Internet Home Page


Previous Addresses for past five years (if required, use additional pages at end of form)
Address                                                                                              From:      /   /              Until:      /   /
                                                                                                             (mm/dd/yyyy)                   (mm/dd/yyyy)

                                                                                                         Rent        Own
Address                                                                                              From:       /    /           Until:      /   /


                                                                                                         Rent        Own
Address                                                                                              From:       /    /           Until:      /   /


                                                                                                         Rent        Own
Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they
were used:


Item 2. Information About Your Spouse or Live-In Companion
Spouse/Companion's Name                                                     Social Security No.                  Date of Birth
                                                                                                                    /   /
                                                                                                                 (mm/dd/yyyy)
Address (if different from yours)                                           Phone Number                         Place of Birth
                                                                            (     )
                                                                                Rent    Own               From (Date):   /   /
                                                                                                                      (mm/dd/yyyy)
Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they were used:


Employer’s Name and Address                                                 Job Title

                                                                            Years in Present Job     Annual Gross Salary/Wages
                                                                                                     $


Item 3. Information About Your Previous Spouse
Name and Address                                                                                     Social Security No.

                                                                                                     Date of Birth
                                                                                                        /    /
                                                                                                     (mm/dd/yyyy)

Item 4. Contact Information (name and address of closest living relative other than your spouse)
Name and Address                                                                                     Phone Number
                                                                                                     (     )




                                                                                                                                               Initials:

                                                                  1 of 10        Federal Trade Commission Financial Statement of Individual Defendant
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Item 5. Information About Dependents (whether or not they reside with you)
Name and Address                                                               Social Security No.                   Date of Birth
                                                                                                                        /    /
                                                                                                                     (mm/dd/yyyy)
                                                                               Relationship

Name and Address                                                               Social Security No.                   Date of Birth
                                                                                                                        /    /
                                                                                                                     (mm/dd/yyyy)
                                                                               Relationship


Name and Address                                                                                                         Date of Birth
                                                                               Social Security No.
                                                                                                                            /    /
                                                                                                                         (mm/dd/yyyy)
                                                                               Relationship


Name and Address                                                                                                         Date of Birth
                                                                               Social Security No.
                                                                                                                            /    /
                                                                                                                         (mm/dd/yyyy)
                                                                               Relationship


Item 6. Employment Information/Employment Income
Provide the following information for this year-to-date and for each of the previous five full years, for each business entity of which you were a director,
officer, member, partner, employee (including self-employment), agent, owner, shareholder, contractor, participant or consultant at any time during that
period. “Income” includes, but is not limited to, any salary, commissions, distributions, draws, consulting fees, loans, loan payments, dividends,
royalties, and benefits for which you did not pay (e.g., health insurance premiums, automobile lease or loan payments) received by you or anyone else
on your behalf.
Company Name and Address                                                           Dates Employed                   Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                    Year                   Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          /                         /               20                     $
Ownership Interest?       Yes     No                                                                                                       $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          /                         /                                      $
                                                                           /                         /                                     $
                                                                           /                         /                                     $
Company Name and Address                                                           Dates Employed                   Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                    Year                   Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          /                         /
                                                                                                                    20                     $
Ownership Interest?       Yes     No                                                                                                       $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          /                         /                                      $
                                                                           /                         /                                     $
                                                                           /                         /                                     $
Company Name and Address                                                           Dates Employed                   Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                    Year                   Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          /                         /               20                     $
Ownership Interest?       Yes     No                                                                                                       $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          /                         /                                      $
                                                                           /                         /                                     $
                                                                           /                         /                                     $



                                                                                                                                           Initials:

                                                                    2 of 10        Federal Trade Commission Financial Statement of Individual Defendant
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Item 7. Pending Lawsuits Filed By or Against You or Your Spouse
List all pending lawsuits that have been filed by or against you or your spouse in any court or before an administrative agency in the United States or in
any foreign country or territory. Note: At Item 12, list lawsuits that resulted in final judgments or settlements in your favor. At Item 21, list lawsuits that
resulted in final judgments or settlements against you.
                                                                                                     Nature of                                        Status or
        Caption of Proceeding              Court or Agency and Location           Case No.                                 Relief Requested
                                                                                                    Proceeding                                       Disposition




Item 8. Safe Deposit Boxes
List all safe deposit boxes, located within the United States or in any foreign country or territory, whether held individually or jointly and whether held by
you, your spouse, or any of your dependents, or held by others for the benefit of you, your spouse, or any of your dependents.
         Name of Owner(s)                         Name & Address of Depository Institution                    Box No.                      Contents




                                                                                                                                              Initials:

                                                                      3 of 10      Federal Trade Commission Financial Statement of Individual Defendant
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                                                         FINANCIAL INFORMATION
REMINDER: When an item asks for information regarding your “assets” and “liabilities” include ALL assets and liabilities, located within
the United States or in any foreign country or territory, or institution, whether held individually or jointly, and whether held by you, your
spouse, or any of your dependents, or held by others for the benefit of you, your spouse, or any of your dependents. In addition, provide
all documents requested in Item 24 with your completed Financial Statement.
                                                                         ASSETS
Item 9. Cash, Bank, and Money Market Accounts
List cash on hand (as opposed to cash in bank accounts or other financial accounts) and all bank accounts, money market accounts, or other financial
accounts, including but not limited to checking accounts, savings accounts, and certificates of deposit. The term “cash on hand” includes but is not
limited to cash in the form of currency, uncashed checks, and money orders.

   a. Amount of Cash on Hand $                                              Form of Cash on Hand

   b. Name on Account                          Name & Address of Financial Institution                         Account No.                     Current Balance

                                                                                                                                           $




                                                                                                                                           $




                                                                                                                                           $




                                                                                                                                           $




                                                                                                                                           $




Item 10. Publicly Traded Securities
List all publicly traded securities, including but not limited to, stocks, stock options, corporate bonds, mutual funds, U.S. government securities (including
but not limited to treasury bills and treasury notes), and state and municipal bonds. Also list any U.S. savings bonds.
Owner of Security                                                                Issuer                        Type of Security        No. of Units Owned


Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $
Owner of Security                                                                Issuer                        Type of Security        No. of Units Owned

Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $
Owner of Security                                                                Issuer                        Type of Security        No. of Units Owned

Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $




                                                                                                                                               Initials:

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Item 11. Non-Public Business and Financial Interests
List all non-public business and financial interests, including but not limited to any interest in a non-public corporation, subchapter-S corporation, limited
liability corporation (“LLC”), general or limited partnership, joint venture, sole proprietorship, international business corporation or personal investment
corporation, and oil or mineral lease.
                                                        Type of Business or Financial               Owner              Ownership     If Officer, Director, Member
            Entity’s Name & Address
                                                       Interest (e.g., LLC, partnership)     (e.g., self, spouse)         %             or Partner, Exact Title




Item 12. Amounts Owed to You, Your Spouse, or Your Dependents
Debtor’s Name & Address                                  Date Obligation          Original Amount Owed         Nature of Obligation (if the result of a final court
                                                      Incurred (Month/Year)      $                             judgment or settlement, provide court name
                                                                /                                              and docket number)
                                                      Current Amount Owed        Payment Schedule
                                                      $                          $
Debtor’s Telephone                                    Debtor’s Relationship to You


Debtor’s Name & Address                                   Date Obligation          Original Amount Owed        Nature of Obligation (if the result of a final court
                                                       Incurred (Month/Year)       $                           judgment or settlement, provide court name
                                                                 /                                             and docket number)
                                                      Current Amount Owed          Payment Schedule
                                                      $                            $
Debtor’s Telephone                                    Debtor’s Relationship to You


Item 13. Life Insurance Policies
List all life insurance policies (including endowment policies) with any cash surrender value.
Insurance Company’s Name, Address, & Telephone No.                    Beneficiary                                   Policy No.             Face Value
                                                                                                                                           $
                                                                     Insured                                        Loans Against Policy   Surrender Value
                                                                                                                    $                      $

Insurance Company’s Name, Address, & Telephone No.                   Beneficiary                                    Policy No.             Face Value
                                                                                                                                           $
                                                                     Insured                                        Loans Against Policy   Surrender Value
                                                                                                                    $                      $

Item 14. Deferred Income Arrangements
List all deferred income arrangements, including but not limited to, deferred annuities, pensions plans, profit-sharing plans, 401(k) plans, IRAs, Keoghs,
other retirement accounts, and college savings plans (e.g., 529 Plans).
Trustee or Administrator’s Name, Address & Telephone No.                           Name on Account                               Account No.


                                                                                   Date Established      Type of Plan              Surrender Value before
                                                                                     /    /                                        Taxes and Penalties
                                                                                   (mm/dd/yyyy)                                    $
Trustee or Administrator’s Name, Address & Telephone No.                           Name on Account                               Account No.

                                                                                   Date Established      Type of Plan              Surrender Value before
                                                                                     /    /                                        Taxes and Penalties
                                                                                                                                   $



                                                                                                                                               Initials:

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Item 15. Pending Insurance Payments or Inheritances
List any pending insurance payments or inheritances owed to you.
Type                                                                                                      Amount Expected     Date Expected (mm/dd/yyyy)
                                                                                                      $                           /     /
                                                                                                      $                           /     /
                                                                                                      $                           /     /

Item 16. Vehicles
List all cars, trucks, motorcycles, boats, airplanes, and other vehicles.
Vehicle Type        Year            Registered Owner’s Name             Purchase Price                     Original Loan Amount       Current Balance
                                                                        $                                  $                          $
Make                                Registration State & No.            Account/Loan No.                   Current Value              Monthly Payment
                                                                                                           $                          $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Vehicle Type      Year              Registered Owner’s Name             Purchase Price                     Original Loan Amount       Current Balance
                                                                        $                                  $                          $
Make                                Registration State & No.            Account/Loan No.                   Current Value              Monthly Payment
                                                                                                           $                          $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Vehicle Type      Year              Registered Owner’s Name             Purchase Price              Original Loan Amount          Current Balance
                                                                        $                           $                             $
Make                                Registration State & No.            Account/Loan No.            Current Value                 Monthly Payment
                                                                                                    $                             $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Vehicle Type      Year              Registered Owner’s Name             Purchase Price              Original Loan Amount          Current Balance
                                                                        $                           $                             $
Make                                Registration State & No.            Account/Loan No.            Current Value                 Monthly Payment
                                                                                                    $                             $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Item 17. Other Personal Property
List all other personal property not listed in Items 9-16 by category, whether held for personal use, investment or any other reason, including but not
limited to coins, stamps, artwork, gemstones, jewelry, bullion, other collectibles, copyrights, patents, and other intellectual property.

   Property Category
                                      Name of Owner                             Property Location                   Acquisition Cost             Current Value
 (e.g., artwork, jewelry)

                                                                                                                   $                        $


                                                                                                                   $                        $


                                                                                                                   $                        $




                                                                                                                                                Initials:

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Item 18. Real Property
List all real property interests (including any land contract)
Property’s Location                          Type of Property                    Name(s) on Title or Contract and Ownership Percentages




Acquisition Date (mm/dd/yyyy)          Purchase Price                        Current Value                  Basis of Valuation
   /   /                               $                                     $
Lender’s Name and Address                                        Loan or Account No.                        Current Balance On First Mortgage or
                                                                                                            Contract
                                                                                                            $
                                                                                                            Monthly Payment
                                                                                                            $
Other Mortgage Loan(s) (describe)                                    Monthly Payment                           Rental Unit
                                                                     $
                                                                     Current Balance                          Monthly Rent Received
                                                                     $                                        $
Property’s Location                          Type of Property                    Name(s) on Title or Contract and Ownership Percentages




Acquisition Date (mm/dd/yyyy)          Purchase Price                        Current Value                  Basis of Valuation
   /   /                               $                                     $
Lender’s Name and Address                                        Loan or Account No.                        Current Balance On First Mortgage or
                                                                                                            Contract
                                                                                                            $
                                                                                                            Monthly Payment
                                                                                                            $
Other Mortgage Loan(s) (describe)                                    Monthly Payment                           Rental Unit
                                                                     $
                                                                     Current Balance                        Monthly Rent Received
                                                                     $                                      $

                                                                        LIABILITIES
Item 19. Credit Cards
List each credit card account held by you, your spouse, or your dependents, and any other credit cards that you, your spouse, or your dependents use,
whether issued by a United States or foreign financial institution.
 Name of Credit Card (e.g., Visa,
                                                      Account No.                            Name(s) on Account                     Current Balance
 MasterCard, Department Store)
                                                                                                                             $
                                                                                                                             $
                                                                                                                             $
                                                                                                                             $
                                                                                                                             $
Item 20. Taxes Payable
List all taxes, such as income taxes or real estate taxes, owed by you, your spouse, or your dependents.

                           Type of Tax                                            Amount Owed                               Year Incurred
                                                                       $
                                                                       $
                                                                       $




                                                                                                                                       Initials:

                                                                       7 of 10    Federal Trade Commission Financial Statement of Individual Defendant
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Item 21. Other Amounts Owed by You, Your Spouse, or Your Dependents
List all other amounts, not listed elsewhere in this financial statement, owed by you, your spouse, or your dependents.
Lender/Creditor’s Name, Address, and Telephone No.         Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
                                                           number)


                                                           Lender/Creditor’s Relationship to You



Date Liability Was Incurred         Original Amount Owed                 Current Amount Owed                  Payment Schedule
   /   /
(mm/dd/yyyy)                        $                                    $
Lender/Creditor’s Name, Address, and Telephone No. Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
                                                     number)


                                                           Lender/Creditor’s Relationship to You



Date Liability Was Incurred             Original Amount Owed                     Current Amount Owed                 Payment Schedule
  /    /
(mm/dd/yyyy)                            $                                        $

                                                     OTHER FINANCIAL INFORMATION
Item 22. Trusts and Escrows
List all funds and other assets that are being held in trust or escrow by any person or entity for you, your spouse, or your dependents. Include any legal
retainers being held on your behalf by legal counsel. Also list all funds or other assets that are being held in trust or escrow by you, your spouse, or your
dependents, for any person or entity.
                                                    Date Established
 Trustee or Escrow Agent’s Name & Address                                 Grantor              Beneficiaries               Present Market Value of Assets*
                                                     (mm/dd/yyyy)
                                                      /    /                                                           $




                                                       /    /                                                          $




                                                       /    /                                                          $




*If the market value of any asset is unknown, describe the asset and state its cost, if you know it.

Item 23. Transfers of Assets
List each person or entity to whom you have transferred, in the aggregate, more than $5,000 in funds or other assets during the previous five years by
loan, gift, sale, or other transfer (exclude ordinary and necessary living and business expenses paid to unrelated third parties). For each such person or
entity, state the total amount transferred during that period.
                                                                                                          Transfer Date               Type of Transfer
Transferee’s Name, Address, & Relationship            Property Transferred        Aggregate Value*
                                                                                                          (mm/dd/yyyy)                (e.g., Loan, Gift)
                                                                                  $                        /   /




                                                                                  $                        /   /




                                                                                  $                        /   /



*If the market value of any asset is unknown, describe the asset and state its cost, if you know it.


                                                                                                                                           Initials:

                                                                     8 of 10      Federal Trade Commission Financial Statement of Individual Defendant
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Item 24. Document Requests
Provide copies of the following documents with your completed Financial Statement.

                Federal tax returns filed during the last three years by or on behalf of you, your spouse, or your dependents.
                All applications for bank loans or other extensions of credit (other than credit cards) that you, your spouse, or your
                dependents have submitted within the last two years, including by obtaining copies from lenders if necessary.
Item 9          For each bank account listed in Item 9, all account statements for the past 3 years.
                For each business entity listed in Item 11, provide (including by causing to be generated from accounting records) the
Item 11         most recent balance sheet, tax return, annual income statement, the most recent year-to-date income statement, and all
                general ledger files from account records.
                All appraisals that have been prepared for any property listed in Item 17, including appraisals done for insurance
Item 17         purposes. You may exclude any category of property where the total appraised value of all property in that category is
                less than $2,000.
Item 18         All appraisals that have been prepared for real property listed in Item 18.
Item 21         Documentation for all debts listed in Item 21.
                All executed documents for any trust or escrow listed in Item 22. Also provide any appraisals, including insurance
Item 22
                appraisals that have been done for any assets held by any such trust or in any such escrow.

                                               SUMMARY FINANCIAL SCHEDULES
Item 25. Combined Balance Sheet for You, Your Spouse, and Your Dependents
Assets                                                                 Liabilities
Cash on Hand (Item 9)                                       $          Loans Against Publicly Traded Securities (Item 10)            $
Funds Held in Financial Institutions (Item 9)               $          Vehicles - Liens (Item 16)                                    $
U.S. Government Securities (Item 10)                        $          Real Property – Encumbrances (Item 18)                        $
Publicly Traded Securities (Item 10)                        $          Credit Cards (Item 19)                                        $
Non-Public Business and Financial Interests (Item 11)       $          Taxes Payable (Item 20)                                       $
Amounts Owed to You (Item 12)                               $          Amounts Owed by You (Item 21)                                 $
Life Insurance Policies (Item 13)                           $          Other Liabilities (Itemize)
Deferred Income Arrangements (Item 14)                      $                                                                        $
Vehicles (Item 16)                                          $                                                                        $
Other Personal Property (Item 17)                           $                                                                        $
Real Property (Item 18)                                     $                                                                        $
Other Assets (Itemize)                                                                                                               $
                                                            $                                                                        $
                                                            $                                                                        $
                                                            $                                                                        $
                                        Total Assets        $          Total Liabilities                                             $
Item 26. Combined Current Monthly Income and Expenses for You, Your Spouse, and Your Dependents
Provide the current monthly income and expenses for you, your spouse, and your dependents. Do not include credit card payments separately; rather,
include credit card expenditures in the appropriate categories.
Income (State source of each item)                                 Expenses
Salary - After Taxes                                               Mortgage or Rental Payments for Residence(s)
                                                        $                                                                                $
Source:
Fees, Commissions, and Royalties                                   Property Taxes for Residence(s)
                                                        $                                                                                $
Source:
Interest                                                           Rental Property Expenses, Including Mortgage Payments, Taxes,
                                                        $          and Insurance                                                         $
Source:
Dividends and Capital Gains                                        Car or Other Vehicle Lease or Loan Payments
                                                        $                                                                                $
Source:
Gross Rental Income                                                Food Expenses
                                                        $                                                                                $
Source:
Profits from Sole Proprietorships                                  Clothing Expenses
                                                        $                                                                                $
Source:
Distributions from Partnerships, S-Corporations,                   Utilities
and LLCs                                                $                                                                                $
Source:


                                                                                                                                    Initials:

                                                                 9 of 10       Federal Trade Commission Financial Statement of Individual Defendant
                     Case 1:20-cv-03538-GLR Document 64 Filed 12/17/20 Page 46 of 67
Item 26. Combined Current Monthly Income and Expenses for You, Your Spouse, and Your Dependents (cont.)
Distributions from Trusts and Estates                                Medical Expenses, Including Insurance
                                                      $                                                                                    $
Source:
Distributions from Deferred Income Arrangements                      Other Insurance Premiums
                                                      $                                                                                    $
Source:
Social Security Payments                              $              Other Transportation Expenses                                         $
Alimony/Child Support Received                        $              Other Expenses (Itemize)
Gambling Income                                       $                                                                                    $
Other Income (Itemize)                                                                                                                     $
                                                      $                                                                                    $
                                                      $                                                                                    $
                                                      $                                                                                    $

                                     Total Income     $              Total Expenses                                                        $


                                                                ATTACHMENTS
Item 27. Documents Attached to this Financial Statement
List all documents that are being submitted with this financial statement. For any Item 24 documents that are not attached, explain why.

Item No. Document Relates To                                                            Description of Document




         I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court. I have used my best efforts to obtain the information requested in this statement. The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. I have provided all requested documents in my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.


Executed on:

_______________                                              ___________________________________
(Date)                                                       Signature




                                                                  10 of 10      Federal Trade Commission Financial Statement of Individual Defendant
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               ATTACHMENT B
                                    FEDERAL
                 Case 1:20-cv-03538-GLR     TRADE64
                                         Document COMMISSION
                                                    Filed 12/17/20 Page 48 of 67
                             FINANCIAL STATEMENT OF CORPORATE DEFENDANT




Instructions:

1.      Complete all items. Enter “None” or "N/A" (“Not Applicable”) where appropriate. If you cannot fully answer a
        question, explain why.

2.      The font size within each field will adjust automatically as you type to accommodate longer responses.

3.      In completing this financial statement, “the corporation” refers not only to this corporation but also to each of its
        predecessors that are not named defendants in this action.

4.      When an Item asks for information about assets or liabilities “held by the corporation,” include ALL such assets
        and liabilities, located within the United States or elsewhere, held by the corporation or held by others for the
        benefit of the corporation.

5.      Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
        being continued. On the continuation page(s), identify the Item number being continued.

6.      Type or print legibly.

7.      An officer of the corporation must sign and date the completed financial statement on the last page and initial
        each page in the space provided in the lower right corner.




Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:

        (1) “in any matter within the jurisdiction of any department or agency of the United States knowingly and
        willfully falsifies, conceals or covers up by any trick, scheme, or device a material fact, or makes any false,
        fictitious or fraudulent statements or representations, or makes or uses any false writing or document knowing the
        same to contain any false, fictitious or fraudulent statement or entry” (18 U.S.C. § 1001);

        (2) “in any . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
        willfully subscribes as true any material matter which he does not believe to be true” (18 U.S.C. § 1621); or

        (3) “in any (. . . statement under penalty of perjury as permitted under section 1746 of title 28, United States
        Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any
        false material declaration or makes or uses any other information . . . knowing the same to contain any false
        material declaration.” (18 U.S.C. § 1623)

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross loss.
18 U.S.C. § 3571.
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                                          BACKGROUND INFORMATION


Item 1.            General Information

Corporation’s Full Name ___________________________________________________________________________

Primary Business Address ______________________________________________________ From (Date) _________

Telephone No. _____________________________ Fax No. _____________________________

E-Mail Address________________________ Internet Home Page________________________

All other current addresses & previous addresses for past five years, including post office boxes and mail drops:

Address____________________________________________________________ From/Until____________________

Address____________________________________________________________ From/Until____________________

Address____________________________________________________________ From/Until____________________

All predecessor companies for past five years:

Name & Address _________________________________________________________ From/Until ______________

Name & Address _________________________________________________________ From/Until ______________

Name & Address _________________________________________________________ From/Until ______________


Item 2.            Legal Information

Federal Taxpayer ID No. _________________________ State & Date of Incorporation _________________________

State Tax ID No. ____________________ State ________________ Profit or Not For Profit _____________________

Corporation’s Present Status: Active ________________ Inactive _______________ Dissolved __________________

If Dissolved: Date dissolved _________________________ By Whom ______________________________________

Reasons _________________________________________________________________________________________

Fiscal Year-End (Mo./Day) ________________ Corporation’s Business Activities _____________________________


Item 3.            Registered Agent

Name of Registered Agent __________________________________________________________________________

Address __________________________________________________________ Telephone No. __________________




          Page 2                                                                          Initials __________
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Item 4.            Principal Stockholders

List all persons and entities that own at least 5% of the corporation’s stock.

                                            Name & Address                                                  % Owned

_________________________________________________________________________________ ______________

_________________________________________________________________________________ ______________

_________________________________________________________________________________ ______________

_________________________________________________________________________________ ______________


Item 5.            Board Members

List all members of the corporation’s Board of Directors.

                                   Name & Address                                        % Owned      Term (From/Until)

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________


Item 6.            Officers

List all of the corporation’s officers, including de facto officers (individuals with significant management responsibility
whose titles do not reflect the nature of their positions).

                                            Name & Address                                                  % Owned

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________




          Page 3                                                                            Initials __________
                   Case 1:20-cv-03538-GLR Document 64 Filed 12/17/20 Page 51 of 67


Item 7.            Businesses Related to the Corporation

List all corporations, partnerships, and other business entities in which this corporation has an ownership interest.

                                  Name & Address                                        Business Activities        % Owned

___________________________________________________________________ ___________________ _________

___________________________________________________________________ ___________________ _________

___________________________________________________________________ ___________________ _________

State which of these businesses, if any, has ever transacted business with the corporation _______________________

________________________________________________________________________________________________


Item 8.            Businesses Related to Individuals

List all corporations, partnerships, and other business entities in which the corporation’s principal stockholders, board
members, or officers (i.e., the individuals listed in Items 4 - 6 above) have an ownership interest.

 Individual’s Name                       Business Name & Address                         Business Activities       % Owned

__________________ __________________________________________________ __________________ ________

__________________ __________________________________________________ __________________ ________

__________________ __________________________________________________ __________________ ________

State which of these businesses, if any, have ever transacted business with the corporation _______________________

________________________________________________________________________________________________


Item 9.            Related Individuals

List all related individuals with whom the corporation has had any business transactions during the three previous fiscal
years and current fiscal year-to-date. A “related individual” is a spouse, sibling, parent, or child of the principal
stockholders, board members, and officers (i.e., the individuals listed in Items 4 - 6 above).

                            Name and Address                                  Relationship           Business Activities

_________________________________________________________ _________________ ______________________

_________________________________________________________ _________________ ______________________

_________________________________________________________ _________________ ______________________




          Page 4                                                                             Initials __________
                  Case 1:20-cv-03538-GLR Document 64 Filed 12/17/20 Page 52 of 67


Item 10.          Outside Accountants

List all outside accountants retained by the corporation during the last three years.

           Name                    Firm Name                                  Address                       CPA/PA?

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________


Item 11.          Corporation’s Recordkeeping

List all individuals within the corporation with responsibility for keeping the corporation’s financial books and records for
the last three years.

                              Name, Address, & Telephone Number                                      Position(s) Held

____________________________________________________________________________ ___________________

____________________________________________________________________________ ___________________

____________________________________________________________________________ ___________________

____________________________________________________________________________ ___________________


Item 12.          Attorneys

List all attorneys retained by the corporation during the last three years.

           Name                        Firm Name                                        Address

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________




        Page 5                                                                             Initials __________
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Item 13.         Pending Lawsuits Filed by the Corporation

List all pending lawsuits that have been filed by the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments or settlements in favor of the corporation in Item 25).

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________


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Item 14.         Current Lawsuits Filed Against the Corporation

List all pending lawsuits that have been filed against the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments, settlements, or orders in Items 26 - 27).

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________


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Item 15.         Bankruptcy Information

List all state insolvency and federal bankruptcy proceedings involving the corporation.

Commencement Date _________________ Termination Date _________________ Docket No. __________________

If State Court: Court & County _______________________ If Federal Court: District __________________________

Disposition ______________________________________________________________________________________


Item 16.                  Safe Deposit Boxes

List all safe deposit boxes, located within the United States or elsewhere, held by the corporation, or held by others for the
benefit of the corporation. On a separate page, describe the contents of each box.

Owner’s Name              Name & Address of Depository Institution                                                   Box No.

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________




                                               FINANCIAL INFORMATION

REMINDER: When an Item asks for information about assets or liabilities “held by the corporation,” include
ALL such assets and liabilities, located within the United States or elsewhere, held by the corporation or held by
others for the benefit of the corporation.

Item 17.         Tax Returns

List all federal and state corporate tax returns filed for the last three complete fiscal years. Attach copies of all returns.

  Federal/       Tax Year      Tax Due        Tax Paid      Tax Due        Tax Paid               Preparer’s Name
 State/Both                    Federal        Federal        State          State

___________ __________ $_________ $_________ $__________ $__________ ______________________________

___________ __________ $_________ $_________ $__________ $__________ ______________________________

___________ __________ $_________ $_________ $__________ $__________ ______________________________




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Item 18.         Financial Statements

List all financial statements that were prepared for the corporation’s last three complete fiscal years and for the current
fiscal year-to-date. Attach copies of all statements, providing audited statements if available.

   Year      Balance Sheet     Profit & Loss Statement     Cash Flow Statement Changes in Owner’s Equity Audited?

_________ _____________ ______________________ __________________ _______________________ ________

_________ _____________ ______________________ __________________ _______________________ ________

_________ _____________ ______________________ __________________ _______________________ ________

_________ _____________ ______________________ __________________ _______________________ ________

Item 19.         Financial Summary

For each of the last three complete fiscal years and for the current fiscal year-to-date for which the corporation has not
provided a profit and loss statement in accordance with Item 18 above, provide the following summary financial
information.
                             Current Year-to-Date          1 Year Ago              2 Years Ago             3 Years Ago
 Gross Revenue             $_________________         $_______________        $_______________         $_______________
 Expenses                  $_________________         $_______________        $_______________         $_______________
 Net Profit After Taxes    $_________________         $_______________        $_______________         $_______________
 Payables                  $_________________
 Receivables               $_________________

Item 20.         Cash, Bank, and Money Market Accounts

List cash and all bank and money market accounts, including but not limited to, checking accounts, savings accounts, and
certificates of deposit, held by the corporation. The term “cash” includes currency and uncashed checks.

Cash on Hand $_________________________ Cash Held for the Corporation’s Benefit $_______________________

  Name & Address of Financial Institution                Signator(s) on Account             Account No.
                                                                                         Current
                                                                                         Balance
_____________________________________ _______________________________ ______________ $___________

_____________________________________ _______________________________ ______________ $___________

_____________________________________ _______________________________ ______________ $___________

_____________________________________ _______________________________ ______________ $___________




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Item 21.          Government Obligations and Publicly Traded Securities

List all U.S. Government obligations, including but not limited to, savings bonds, treasury bills, or treasury notes, held by
the corporation. Also list all publicly traded securities, including but not limited to, stocks, stock options, registered and
bearer bonds, state and municipal bonds, and mutual funds, held by the corporation.

Issuer _________________________________ Type of Security/Obligation __________________________________

No. of Units Owned __________ Current Fair Market Value $__________________ Maturity Date _______________

Issuer _________________________________ Type of Security/Obligation __________________________________

No. of Units Owned __________ Current Fair Market Value $__________________ Maturity Date _______________


Item 22.          Real Estate

List all real estate, including leaseholds in excess of five years, held by the corporation.

Type of Property________________________________ Property’s Location__________________________________

Name(s) on Title and Ownership Percentages___________________________________________________________

Current Value $____________________ Loan or Account No. __________________________

Lender’s Name and Address_________________________________________________________________________

Current Balance On First Mortgage $_______________ Monthly Payment $______________

Other Loan(s) (describe)____________________________________________ Current Balance $_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent Received $_____________



Type of Property________________________________ Property’s Location__________________________________

Name(s) on Title and Ownership Percentages___________________________________________________________

Current Value $____________________ Loan or Account No. __________________________

Lender’s Name and Address_________________________________________________________________________

Current Balance On First Mortgage $_______________ Monthly Payment $______________

Other Loan(s) (describe)____________________________________________ Current Balance $_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent Received $_____________




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Item 23.          Other Assets

List all other property, by category, with an estimated value of $2,500 or more, held by the corporation, including but not
limited to, inventory, machinery, equipment, furniture, vehicles, customer lists, computer software, patents, and other
intellectual property.

           Property Category                               Property Location                       Acquisition      Current
                                                                                                     Cost           Value

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________


Item 24.          Trusts and Escrows

List all persons and other entities holding funds or other assets that are in escrow or in trust for the corporation.

           Trustee or Escrow Agent’s                      Description and Location of Assets               Present Market
                Name & Address                                                                             Value of Assets

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________




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Item 25.          Monetary Judgments and Settlements Owed To the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed to the corporation.

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________



Item 26.          Monetary Judgments and Settlements Owed By the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed by the corporation.

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit_______________________________________ Date______________ Amount $______________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________



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Item 27.          Government Orders and Settlements

List all existing orders and settlements between the corporation and any federal or state government entities.

Name of Agency ___________________________________________ Contact Person __________________________

Address _____________________________________________________________ Telephone No. _______________

Agreement Date ______________ Nature of Agreement __________________________________________________


Item 28.          Credit Cards

List all of the corporation’s credit cards and store charge accounts and the individuals authorized to use them.

           Name of Credit Card or Store                         Names of Authorized Users and Positions Held

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________


Item 29.          Compensation of Employees

List all compensation and other benefits received from the corporation by the five most highly compensated employees,
independent contractors, and consultants (other than those individuals listed in Items 5 and 6 above), for the two previous
fiscal years and current fiscal year-to-date. “Compensation” includes, but is not limited to, salaries, commissions,
consulting fees, bonuses, dividends, distributions, royalties, pensions, and profit sharing plans. “Other benefits” include,
but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to the
individuals, or paid to others on their behalf.

           Name/Position               Current Fiscal    1 Year Ago     2 Years Ago             Compensation or
                                       Year-to-Date                                             Type of Benefits

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________




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Item 30.          Compensation of Board Members and Officers

List all compensation and other benefits received from the corporation by each person listed in Items 5 and 6, for the
current fiscal year-to-date and the two previous fiscal years. “Compensation” includes, but is not limited to, salaries,
commissions, consulting fees, dividends, distributions, royalties, pensions, and profit sharing plans. “Other benefits”
include, but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to
the individuals, or paid to others on their behalf.

           Name/Position               Current Fiscal    1 Year Ago      2 Years Ago             Compensation or
                                       Year-to-Date                                              Type of Benefits

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

Item 31.          Transfers of Assets Including Cash and Property

List all transfers of assets over $2,500 made by the corporation, other than in the ordinary course of business, during the
previous three years, by loan, gift, sale, or other transfer.

 Transferee’s Name, Address, & Relationship           Property           Aggregate       Transfer      Type of Transfer
                                                     Transferred          Value           Date         (e.g., Loan, Gift)


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________




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Item 32.          Documents Attached to the Financial Statement

List all documents that are being submitted with the financial statement.

 Item No. Document       Description of Document
     Relates To

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________




        I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court. I have used my best efforts to obtain the information requested in this statement. The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. I have provided all requested documents in my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Executed on:

______________________________                    _____________________________________________________
(Date)                                            Signature


                                                  _____________________________________________________
                                                  Corporate Position




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               ATTACHMENT C
                               Case 1:20-cv-03538-GLR Document 64 Filed 12/17/20 Page 64 of 67
Form     4506                                                    Request for Copy of Tax Return
(March 2019)                                       a Do   not sign this form unless all applicable lines have been completed.                        OMB No. 1545-0429
                                                         a Request  may be rejected if the form is incomplete or illegible.
Department of the Treasury
                                                      a For more information about Form 4506, visit www.irs.gov/form4506.
Internal Revenue Service

Tip. You may be able to get your tax return or return information from other sources. If you had your tax return completed by a paid preparer, they
should be able to provide you a copy of the return. The IRS can provide a Tax Return Transcript for many returns free of charge. The transcript
provides most of the line entries from the original tax return and usually contains the information that a third party (such as a mortgage company)
requires. See Form 4506-T, Request for Transcript of Tax Return, or you can quickly request transcripts by using our automated self-help service
tools. Please visit us at IRS.gov and click on “Get a Tax Transcript...” or call 1-800-908-9946.

   1a Name shown on tax return. If a joint return, enter the name shown first.                          1b First social security number on tax return,
                                                                                                           individual taxpayer identification number, or
                                                                                                           employer identification number (see instructions)


   2a If a joint return, enter spouse’s name shown on tax return.                                       2b Second social security number or individual
                                                                                                           taxpayer identification number if joint tax return


   3 Current name, address (including apt., room, or suite no.), city, state, and ZIP code (see instructions)



   4 Previous address shown on the last return filed if different from line 3 (see instructions)



   5 If the tax return is to be mailed to a third party (such as a mortgage company), enter the third party’s name, address, and telephone number.



Caution: If the tax return is being mailed to a third party, ensure that you have filled in lines 6 and 7 before signing. Sign and date the form once you
have filled in these lines. Completing these steps helps to protect your privacy. Once the IRS discloses your tax return to the third party listed on line
5, the IRS has no control over what the third party does with the information. If you would like to limit the third party's authority to disclose your return
information, you can specify this limitation in your written agreement with the third party.

   6     Tax return requested. Form 1040, 1120, 941, etc. and all attachments as originally submitted to the IRS, including Form(s) W-2,
         schedules, or amended returns. Copies of Forms 1040, 1040A, and 1040EZ are generally available for 7 years from filing before they are
         destroyed by law. Other returns may be available for a longer period of time. Enter only one return number. If you need more than one
         type of return, you must complete another Form 4506. a
         Note: If the copies must be certified for court or administrative proceedings, check here .            .   .    .   .   .   .   .   .   .   .   .    .   .   .
   7     Year or period requested. Enter the ending date of the year or period, using the mm/dd/yyyy format. If you are requesting more than
         eight years or periods, you must attach another Form 4506.




   8     Fee. There is a $50 fee for each return requested. Full payment must be included with your request or it will
         be rejected. Make your check or money order payable to “United States Treasury.” Enter your SSN, ITIN,
         or EIN and “Form 4506 request” on your check or money order.
    a    Cost for each return . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  $                       50.00
     b   Number of returns requested on line 7 . . . . . . . . . . . . . . . . . . . . . .
     c   Total cost. Multiply line 8a by line 8b . . . . . . . . . . . . . . . . . . . . . .                                         $
   9     If we cannot find the tax return, we will refund the fee. If the refund should go to the third party listed on line 5, check here .             .    .   .   .
Caution: Do not sign this form unless all applicable lines have been completed.
Signature of taxpayer(s). I declare that I am either the taxpayer whose name is shown on line 1a or 2a, or a person authorized to obtain the tax return
requested. If the request applies to a joint return, at least one spouse must sign. If signed by a corporate officer, 1 percent or more shareholder, partner,
managing member, guardian, tax matters partner, executor, receiver, administrator, trustee, or party other than the taxpayer, I certify that I have the authority to
execute Form 4506 on behalf of the taxpayer. Note: This form must be received by IRS within 120 days of the signature date.
    Signatory attests that he/she has read the attestation clause and upon so reading
    declares that he/she has the authority to sign the Form 4506. See instructions.                                              Phone number of taxpayer on line
                                                                                                                                 1a or 2a
               F F F




Sign                   Signature (see instructions)                                                  Date
Here
                       Title (if line 1a above is a corporation, partnership, estate, or trust)


                       Spouse’s signature                                                            Date
For Privacy Act and Paperwork Reduction Act Notice, see page 2.                                        Cat. No. 41721E                           Form 4506 (Rev. 3-2019)
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Form 4506 (Rev. 3-2019)                                                                                                                                            Page   2
Section references are to the Internal Revenue Code       Chart for all other returns                                 Corporations. Generally, Form 4506 can be
unless otherwise noted.                                                                                            signed by: (1) an officer having legal authority to bind
                                                          If you lived in                                          the corporation, (2) any person designated by the
Future Developments                                       or your business              Mail to:                   board of directors or other governing body, or (3)
For the latest information about Form 4506 and its        was in:                                                  any officer or employee on written request by any
instructions, go to www.irs.gov/form4506.                                                                          principal officer and attested to by the secretary or
Information about any recent developments affecting                                                                other officer. A bona fide shareholder of record
                                                          Alabama, Alaska,                                         owning 1 percent or more of the outstanding stock
Form 4506, Form 4506-T and Form 4506T-EZ will be          Arizona, Arkansas,
posted on that page.                                                                                               of the corporation may submit a Form 4506 but must
                                                          California, Colorado,                                    provide documentation to support the requester's
                                                          Connecticut, Delaware,                                   right to receive the information.
General Instructions                                      District of Columbia,
                                                                                                                     Partnerships. Generally, Form 4506 can be
                                                          Florida, Georgia, Hawaii,
Caution: Do not sign this form unless all applicable      Idaho, Illinois, Indiana,                                signed by any person who was a member of the
lines have been completed.                                Iowa, Kansas, Kentucky,                                  partnership during any part of the tax period
Purpose of form. Use Form 4506 to request a copy          Louisiana, Maine,                                        requested on line 7.
of your tax return. You can also designate (on line 5)    Maryland,                                                   All others. See section 6103(e) if the taxpayer has
a third party to receive the tax return.                  Massachusetts,                                           died, is insolvent, is a dissolved corporation, or if a
                                                          Michigan, Minnesota,                                     trustee, guardian, executor, receiver, or
How long will it take? It may take up to 75
                                                          Mississippi,                                             administrator is acting for the taxpayer.
calendar days for us to process your request.
                                                          Missouri, Montana,
Tip. Use Form 4506-T, Request for Transcript of Tax       Nebraska, Nevada, New                                    Note: If you are Heir at law, Next of kin, or
Return, to request tax return transcripts, tax account    Hampshire, New Jersey,                                   Beneficiary you must be able to establish a material
information, W-2 information, 1099 information,           New Mexico, New York,         Internal Revenue Service   interest in the estate or trust.
verification of nonfiling, and records of account.        North Carolina,               RAIVS Team                 Documentation. For entities other than individuals,
Automated transcript request. You can quickly             North Dakota, Ohio,           P.O. Box 9941              you must attach the authorization document. For
request transcripts by using our automated self-help      Oklahoma, Oregon,             Mail Stop 6734             example, this could be the letter from the principal
service tools. Please visit us at IRS.gov and click on    Pennsylvania, Rhode           Ogden, UT 84409            officer authorizing an employee of the corporation or
“Get a Tax Transcript...” or call 1-800-908-9946.         Island, South Carolina,                                  the letters testamentary authorizing an individual to
                                                          South Dakota,                                            act for an estate.
Where to file. Attach payment and mail Form 4506          Tennessee, Texas, Utah,
to the address below for the state you lived in, or the                                                            Signature by a representative. A representative
                                                          Vermont, Virginia,                                       can sign Form 4506 for a taxpayer only if this
state your business was in, when that return was          Washington, West
filed. There are two address charts: one for                                                                       authority has been specifically delegated to the
                                                          Virginia, Wisconsin,                                     representative on Form 2848, line 5a. Form 2848
individual returns (Form 1040 series) and one for all     Wyoming, a foreign
other returns.                                                                                                     showing the delegation must be attached to Form
                                                          country, American                                        4506.
   If you are requesting a return for more than one       Samoa, Puerto Rico,
year or period and the chart below shows two              Guam, the
                                                                                                                   Privacy Act and Paperwork Reduction Act
different addresses, send your request to the             Commonwealth of the
                                                                                                                   Notice. We ask for the information on this form to
address based on the address of your most recent          Northern Mariana
                                                                                                                   establish your right to gain access to the requested
return.                                                   Islands, the U.S. Virgin
                                                                                                                   return(s) under the Internal Revenue Code. We need
                                                          Islands, or A.P.O. or
Chart for individual returns                                                                                       this information to properly identify the return(s) and
                                                          F.P.O. address
                                                                                                                   respond to your request. If you request a copy of a
(Form 1040 series)                                                                                                 tax return, sections 6103 and 6109 require you to
If you filed an                                                                                                    provide this information, including your SSN or EIN,
individual return             Mail to:                    Specific Instructions                                    to process your request. If you do not provide this
                                                                                                                   information, we may not be able to process your
and lived in:                                             Line 1b. Enter your employer identification number       request. Providing false or fraudulent information
Alabama, Kentucky,                                        (EIN) if you are requesting a copy of a business         may subject you to penalties.
Louisiana, Mississippi,                                   return. Otherwise, enter the first social security           Routine uses of this information include giving it to
Tennessee, Texas, a                                       number (SSN) or your individual taxpayer                 the Department of Justice for civil and criminal
foreign country, American     Internal Revenue Service    identification number (ITIN) shown on the return. For    litigation, and cities, states, the District of Columbia,
Samoa, Puerto Rico,           RAIVS Team                  example, if you are requesting Form 1040 that            and U.S. commonwealths and possessions for use
Guam, the                     Stop 6716 AUSC              includes Schedule C (Form 1040), enter your SSN.         in administering their tax laws. We may also
Commonwealth of the           Austin, TX 73301            Line 3. Enter your current address. If you use a P.O.    disclose this information to other countries under a
Northern Mariana Islands,                                 box, please include it on this line 3.                   tax treaty, to federal and state agencies to enforce
the U.S. Virgin Islands, or                               Line 4. Enter the address shown on the last return       federal nontax criminal laws, or to federal law
A.P.O. or F.P.O. address                                  filed if different from the address entered on line 3.   enforcement and intelligence agencies to combat
                                                                                                                   terrorism.
Alaska, Arizona,                                          Note: If the addresses on lines 3 and 4 are different
Arkansas, California,                                     and you have not changed your address with the             You are not required to provide the information
Colorado, Hawaii, Idaho,                                  IRS, file Form 8822, Change of Address. For a            requested on a form that is subject to the Paperwork
Illinois, Indiana, Iowa,                                  business address, file Form 8822-B, Change of            Reduction Act unless the form displays a valid OMB
Kansas, Michigan,             Internal Revenue Service    Address or Responsible Party — Business.                 control number. Books or records relating to a form
Minnesota, Montana,           RAIVS Team                                                                           or its instructions must be retained as long as their
                                                          Signature and date. Form 4506 must be signed and         contents may become material in the administration
Nebraska, Nevada, New         Stop 37106                  dated by the taxpayer listed on line 1a or 2a. The
Mexico, North Dakota,         Fresno, CA 93888                                                                     of any Internal Revenue law. Generally, tax returns
                                                          IRS must receive Form 4506 within 120 days of the        and return information are confidential, as required
Oklahoma, Oregon,                                         date signed by the taxpayer or it will be rejected.
South Dakota, Utah,                                                                                                by section 6103.
                                                          Ensure that all applicable lines are completed before
Washington, Wisconsin,                                    signing.                                                   The time needed to complete and file Form 4506
Wyoming                                                                                                            will vary depending on individual circumstances. The
                                                                                                                   estimated average time is: Learning about the law

                                                          F
                                                                      You must check the box in the

                                                          !
Connecticut,                                                                                                       or the form, 10 min.; Preparing the form, 16 min.;
                                                                      signature area to acknowledge you
Delaware, District of                                                                                              and Copying, assembling, and sending the form
Columbia, Florida,                                                    have the authority to sign and request
                                                                                                                   to the IRS, 20 min.
Georgia, Maine,                                            CAUTION the information. The form will not be
                                                                                                                     If you have comments concerning the accuracy of
Maryland,                     Internal Revenue Service    processed and returned to you if the box is
                                                                                                                   these time estimates or suggestions for making
Massachusetts,                RAIVS Team                  unchecked.                                               Form 4506 simpler, we would be happy to hear from
Missouri, New                 Stop 6705 S-2                 Individuals. Copies of jointly filed tax returns may   you. You can write to:
Hampshire, New Jersey,        Kansas City, MO
New York, North                                           be furnished to either spouse. Only one signature is       Internal Revenue Service
                              64999                       required. Sign Form 4506 exactly as your name
Carolina, Ohio,                                                                                                      Tax Forms and Publications Division
Pennsylvania, Rhode                                       appeared on the original return. If you changed your       1111 Constitution Ave. NW, IR-6526
Island, South Carolina,                                   name, also sign your current name.                         Washington, DC 20224.
Vermont, Virginia, West
Virginia                                                                                                            Do not send the form to this address. Instead, see
                                                                                                                   Where to file on this page.
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               ATTACHMENT D
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               CONSENT TO RELEASE FINANCIAL RECORDS



       I, __________________________of _______________________, (City,
State), do hereby direct any bank, saving and loan association, credit union,
depository institution, finance company, commercial lending company, credit card
processor, credit card processing entity, automated clearing house, network
transaction processor, bank debit processing entity, brokerage house, escrow agent,
money market or mutual fund, title company, commodity trading company, trustee,
or person that holds, controls, or maintains custody of assets, wherever located,
that are owned or controlled by me or at which there is an account of any kind
upon which I am authorized to draw, and its officers, employees, and agents, to
disclose all information and deliver copies of all documents of every nature in its
possession or control which relate to the said accounts to any attorney of the
Federal Trade Commission, and to give evidence relevant thereto, in the matter of [
], now pending in the United States District Court of [            ], and this shall be
irrevocable authority for so doing.

      This direction is intended to apply to the laws of countries other than the
United States of America which restrict or prohibit disclosure of bank or other
financial information without the consent of the holder of the account, and shall be
construed as consent with respect hereto, and the same shall apply to any of the
accounts for which I may be a relevant principal.



Dated:_______________            Signature:_____________________________

                                 Printed Name:__________________________
